10
11
12
13
14
15
16
¥
18
19
20
21
22
23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 1 of 21

COPY

Original Filad
NOV 22 2021

Clark Co. Dist. Cou

IN THE DISTRICT COURT OF THE STATE OF WASHINGTON

FOR THE COUNTY OF CLARK
NATHEN BARTON, CaseNo.: LICS7TUT-&
Plaintiff ORIGINAL COMPLAINT FOR A
v. CIVIL CASE AND INJUNCTIVE

RELIEF
Sopi Financial LLC, Top Healthcare

Solutions LLC, Adroit Health Group, LLC,
and John Doe 1-10

Jury Trial: Bl Yes 0 No

 

Defendants.

 

I. THE NATURE OF THE ACTION
Defendant. Sopi Financial LLC (“Sopi”) is an aggressive telemarketer of discount health
insurance plans you have never heard of for Adroit Health Group LLC (“Adroit”). Sopi places
the initial calls and Adroit collects the money for Sopi.

They are in violation of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §

227, and Washington State law. é
PLAINTIFF'S ORGINAL COMPLAINT FOR A CIVILCASE - 1/2! NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL, 4618 NW 1] CIR

CAMAS WA 98607

EXHIBIT |

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 2 of 21

I. THE PARTIES TO THIS COMPLAINT

Plaintiff Nathen Barton is a natural person resides at 4618 NW 11™ St, Camas,
Washington 98607. His contact number for this complaint is (718) 710 - 5784

Defendant Adroit Health Group LLC (“Adroit”) is a Texas Limited Liability Company.
They use the address 1575 Heritage Dr Ste 200, McKinney TX 75069-3388.

Adroit may be served with process via Corporation Service Company, 211 E. 7” Street
Suite 620, Austin TX 78701, or via Corporation Service Company, 300 Deschutes Way SW STE
208 MC-CSC1, Tumwater WA 98501.

Adroit is affiliated with Golden Rule Insurance Company’.

Defendant Sopi Financial LLC (“Sopi”) is a Florida Limited Liability Company. They
use the address 9506 SW 1* Court, Coral Springs, FL 33071.

Sopi may be served with process via Flamur Sopi, 9506 SW 1° Court, Coral Springs, FL
33071.

Sopi is registered with Utah State as an insurance agent, and that page shows that Sopi is
affiliated with Golden Rule Insurance Company”.

Defendant Top Healthcare Solutions LLC (“Top Healthcare”), 600 Fairway Dr suite 108,
Deerfield, FL 33441.

Top Healthcare can be served with process via John A Mahaney IV (“Mahaney”), 600
Fairway Dr suite 108, Deerfield, FL 33441.

The State of Florida shows that John Mahaney is the Authorized Person for Top

Healthcare. A Florida State corporate filing for Top Healthcare shows lists phone number (954)

 

! https://secure.utah. cov/agent-search/organizationDetails.html?agent=y IpjYodWB6
 https://secure.utah.gov/agent-search/agentDetails.html?agent=gkORoD3 VBZ

PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVIL CASE -2/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 117 CIR

CAMAS WA 98607

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 3 of 21

234-1613, and a Utah State insurance agent registration page for John Arthur Mahaney also lists
phone number (954) 234-1613. That same Utah insurance agent page shows that Mahaney is also
affiliated with Golden Rule Insurance Company’.

On the phone, the Defendants Sopi Financial LLC and Top Healthcare Solutions LLC
refer to themselves as “The Health Center”, “The Health Enrollment Center”, and “The National
Health Enrollment Center” and small variations on these words.

None of these names are registered going concerns in Texas or Florida.

WI. BASIS FOR JURISDICTION

Plaintiff Nathen Barton is a natural person and resident of Clark County, Washington. All
the acts alleged in this complaint occurred in Clark County, Washington State, during the year
2021.

Jurisdiction in this court is correct because of where Plaintiff resides, and his residence is a
nexus where Plaintiff suffered personal injury and invasion of privacy at the hands of the
Defendants. As the complaint will flesh out, most of the callers either expected that Plaintiff
lived in zip code 98684, or learned that during the call, and continued the conversation. As the
telephone callers, they avail themselves of doing business in this County, and they should expect
to be subject to the jurisdiction of this Court.

Washington State has long held that a party availing themselves of the privilege of
conducting activities inside of Washington State is subject to the jurisdiction of Washington
State. See Cofinco of Seattle, Lid. v. Weiss, 25 Wash.App. 195, 196, 605 P.2d 794 (1980).

The Defendants need not physically visit Washington. The internet and the telephone

allow anyone in one state to do business in all others. In a case decided before “internet” was a

 

3 https://secure.utah. gov/agent-search/azentDetails.html?agent=SvOPRmO9py

PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVIL CASE -3/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11™ CIR

CAMAS WA 98607

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 4 of 21

word, our Washington Supreme Court recognized that jurisdiction may be established by
“affirmative acts taking place here by which the out-of-state resident overtly submits to
jurisdiction”. Griffiths & Sprague Stevedoring Co. v. Bayly, Martin & Fay, Inc., 71 Wash.2d
679, 684, 430 P.2d 600 (1967) quoting Quigley v. Spano Crane Sales & Serv., Inc., 70 Wn.2d
198, 422 P.2d 512 (1967).

The Defendants initiated or incentivized others to initiate phone call solicitations to
Plaintiff and other residents of Washington State, and they a significant fraction of the phone
calls would be to Washington State residents, establishing jurisdiction here. Nixon v. Cohn, 62
Wn.2d 987, 385 P.2d 305 (1963)).

All the telemarketing calls alleged in this complaint were made to one specific 469-area
code cell phone with a phone number that is assigned to Plaintiff in exchange for a monthly
service fee.

Plaintiff is suing in part under federal statute the Telephone Consumer Protection Act of
1991, known as the TCPA, giving rise to a lawsuit that may be brought in Federal Court pursuant
to Mims v. Arrow Fin. Services, LLC.

IV. STATEMENT OF CLAIM

Plaintiff pays for and uses his 469 area code cell phone for completely non-commercial
purposes. The phone is and was on a very limited service plan, with each call, text, or data usage
subtracting from a fixed amount of each available each month.

Any times listed are Pacific Standard Time.

The cell phone number at issue was registered on the FTC national do-not-call registry

more than 31 days before all calls at issue in this Complaint.

PLAINTIFF’S ORGINAL COMPLAINT FORA CIVIL CASE -4/21 NATHEN BARTON
BARTON V SOP! FINANCIAL LLC ET AL 4618 NW 11™ CIR

CAMAS WA 98607

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 5 of 21

At no time relevant to this lawsuit did Plaintiff invite or consent to any solicitation calls for
medical insurance. All the calls the Defendants initiated to Plaintiff was for the purpose of
encouraging Plaintiff to purchase goods or services.

Unsolicited Telemarketing Call #1 & #2

On May 3, 2021, Plaintiff received a phone call ftom (469) 743 8725. A lady introduced
herself with “Hi this is Leah I’m calling in regards to affordable health care are you insured
now?” She started asking health insurance related questions and said she had options that would
save money.

Eventually Leah joined a man to the call and he introduced himself with “Hi this is
Phillip I’m going to be the licensed agent assisting you”. Leah said in response “Hi this is the
Health Center I have Nathen on the other line”. Barton told Phillip that he didn’t want to talk,
and Phillip said he would text Barton his toll free number, and he did, texting “866 439 6595 ext
160” from phone number (213) 205-5719. Barton ended the call without consenting to further
calls.

If you call (213) 205-5719 after hours, a lady’s voice will say “Thank you for calling The
Health Center”.

If you call (866) 439-6595 after hours, a lady’s voice will say “Thank you for calling The
Health Center”.

As of 11/19/2021, phone number (469) 743 8725 is not in service.

Unsolicited Telemarketing Call #3
At 8:36am on May 4, 2021, Plaintiff received a phone call from (469) 743 8725. An

unidentified man introduced himself with “I’m calling in reference to an application for health

insurance”.
PLAINTIFF’S ORGINAL COMPLAINT FORA CIVIL CASE -5/21 NATHEN BARTON
BARTON V SOP! FINANCIAL LLC ET AL 4618 NW 11™ CIR

CAMAS WA 98607

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 6 of 21

Then he started asking health insurance related questions, and asked for Barton’s name.
Barton asked the unidentified man if this call was related to the previous day’s call, and the man
confirmed that it was.

Eventually the unidentified man put a “Frank” on the line, and Frank continued asking
health insurance questions and medical questions. Frank put Barton on hold, and Barton waited
a long time for Frank to return to the phone.

Frank claimed he worked for “The Health Center”, he emphasized each word. However
this is a fictitious name, “The Health Center” is not a legitimate company or doing-business-as
in Florida or Texas . Up until this point, none of the callers had identified who they worked for,
or who they were calling on behalf of.

As part of the sales pitch, the caller sent a text message from (949) 288-2906. It was
advertising a link to a alhealthcare.com.

Eventually, the caller revealed that they are or represent Adroit Health Group with
website adroithealthgroup.com. The website gives the address of PO Box 310, McKiney TX
75070. This entity also uses the dba Strata Health Group and they are known to the Better
Business Bureau, with webpage bbb.org/us/tx/mckinnev/profile/insurance-agency/strata-health-
group-0875-90799591 As of 11/19/2021, the number (469) 743 8725 is no longer in service.

Telemarketing Call #4

To get the defendants to reveal who they are, Barton played along to get their names. On
5/7/2021, Frank called Barton from (469) 351-5779. Barton told Frank that he was not interested
in buying anything, asked Frank to add Barton’s number to their do-not-call list, and hung up.

As of 11/19/2021, the number is not in service.

Unsolicited Telemarketing Call #5

PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVIL CASE -6/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 117 CIR

CAMAS WA 98607

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 7 of 21

On May 21, 2021, Plaintiff received a phone call from (469) 743-8737. The caller was a
lady’s voice reading off a script “Hi this is Jen at The Health Center I see a recent application for
health coverage and I have some very affordable options for you, give me a call back at (855)
352-3282 so I can assist you today” and then the caller ended the call.

On 11/18/2021, Plaintiff called (855) 352-3282 and a lady answered who said she was
with “The Health Center” and she would help Plaintiff find health insurance options in the State
of Washington.

If you call this (469) 743-8737 number back after hours, it will play music matching the
“on hold” music The Health Enrollment Center plays when callers are on hold.

If you call this (855) 352-3282 number back after hours, it will play music matching the
“on hold” music The Health Enrollment Center plays when callers are on hold.

Unsolicited Telemarketing Call #6

On June 10, 2021, Plaintiff received a phone call from (469) 743-8737. A lady started
talking with “Hi Nathan this is Jen I’m calling in regards to affordable health care are you
insured now”? Jen then started asking health insurance questions, and eventually she said she
would “transfer you to a senior agent in your state” who in this case turned out to be “James”
with the “Health Registration Department”. James asked for Barton’s zip code and Plaintiff told
him it was 98684. Based on that zip code, James said he had to transfer Barton to ‘another
department” and then a “Charlie Calvin” got on the line from “The Health Enroliment Center”.
And then Charlie ended the call or the call ended.

On 11/18/2021, Barton called (469) 743-8737 and a lady answered the phone as “The
Health Center”.

If you call this number back after hours, it will play music matching the “on hold” music

The Health Enroliment Center plays when callers are on hold.

PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVILCASE -7/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11™ cI

CAMAS WA 98607

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 8 of 21

Unsolicited Telemarketing Call #7 & #8

On July 8, 2021, Plaintiff received a phone call from (469) 780-8608. A man started
talking with “Hi Nathan this is John I’m calling in regards to affordable health care are you
insured now”? John then started asking Plaintiff health insurance questions.

Eventually John said he would transfer the call to “A senior agent in your state” which in
this case was a man named “Frank”. In transferring the call, John said to Frank “oh hi this is The
Health Center, I have Nathen on the line”. Frank seemed to know who John was. John said he
was a licensed health insurance specialist.

Frank asked what state and zip code Barton lived in, and Barton told him Washington
State and 98684. Frank said he had to get Barton over the department that could “help you out in |
your State” and a “Matthew” got on the line. Matthew said “I am with the Health Enrollment
Center”.

Barton ended the call. without consenting to more calls, to answer a call from 469 421
6483. It was the Health Enrollment Center calling: Barton told the 6483 people that he was just
on the phone with the “Health Enrollment Center” and ended that call to answer a call from
“Health Enrollment Center”. Plaintiff ended up explaining again that Barton lived in
Washington, and the man on the phone said that The Health Enrollment Center didn’t offer
products in Washington and the man ended the call.

As of 11/22/2021, the number (469) 780-8608 is not in service.

Unsolicited Telemarketing Call #9

On July 9, 2021, Plaintiff received a phone call from (469) 421- 6483. A lady started
talking with “Health Enrollment Center this is Nancy how can I assist you?” to which Plaintiff
replied ‘“Well you called me”. Nancy said that she was calling about a health insurance

PLAINTIFF’S ORGINAL COMPLAINT FOR ACIVIL CASE -8/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11™ CIR

CAMAS WA 98607

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 9 of 21

application, and start started asking Barton insurance questions, and she already knew Plaintiff
lived in Washington State.

Nancy then connected a “Lavon” to the call, and he said he was a licensed agent. Once
again, Lavon revealed that they are or represent Adroit Health Group with website
adroithealthgroup.com. Lavon gave his number, 866 439 6595. This number is registered to
Flamur Sopi with address 9506 SW 1st Court, Coral Springs, FL 33071. If you call that number,
an automated voice menu will answer as “The Health Center”, On 11/18/2021, Barton called
that 6595 number and after reaching a customer service agent, said he was looking for Strata
Health Group. The lady explained that Strata Health group is the benefits administrator for The
Health Center”

If you call this (469) 421- 6483 phone number after house, a lady’s voice says “We are
currently closed, please try your call again later” and hangs up. All the after hours calls that give
this message are from the same recording. If you call during business hours, the person who
answered on 11/22/2021 answered as “This is Joe with the Health Enrollment Center”.

Telemarketing Call #10

Later that same day, on July 9, 2021, Plaintiff received a phone call from (469) 421-
6483. A lady spoke, introducing herself with “This is Sheryl with the Health Center”. She
started asking health insurance insurance questions. Plaintiff asked Sheryl to please put Barton
on her do-not-call list. Sheryl replied “Yes I can” and the call lasted under a minute. The call
ended at 12:09pm. Ifyou call this phone number after house, a lady’s voice says ““We are

currently closed, please try your call again later” and hangs up. All the after hours calls that give

this message are from the same recording.

If you call during business hours, the person who answered on 11/22/2021 answered as

“This is Joe with the Health Enrollment Center’.

PLAINTIFF’S ORGINAL COMPLAINT FOR ACIVILCASE -9/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11™ CIR

CAMAS WA 98607

 
10

il

12

13

14

15S

16

17

18

19

20

21

22

23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 10 of 21

Telemarketing Call #11

Later that same day, on July 9, 2021, Plaintiff received a phone call from (469) 421-
6483. A man introduced himself with “It’s Lavon again”, and it was the caller from earlier that
same morning. Plaintiff told Lavon that he wasn’t interested in any products from Lavon’s
company and Barton said to Lavon “I wish for you to put me on the do-not-call list” to which
Lavon said “That’s not a problem”. The call ended at 12:24PM.

If you call this phone number after house, a lady’s voice says “We are currently closed,
please try your call again later’ and hangs up. All the after hours calls that give this message are
from the same recording.

If you call during business hours, the person who answered on 11/22/2021 answered as
“This is Joe with the Health Enrollment Center”.

Unsolicited Telemarketing Call #12

On July 21, 2021, Plaintiff received a phone call from (469) 743-8737. The caller was a
lady’s pre-recorded or artificially generated voice reading off a script that included “Do you have
high deductibles, do you have existing conditions, with our open enrollment PPO plan, you are
covered from day one. And receive coverage for unlimited doctor visits, emergency room,
hospitalization, surgery, dental, prescription, and more, with no deductibles”. There was no
actual person on the phone and she asked Plaintiff to type a key on the phone to talk to a live
person. Plaintiff hung up.

If you call this number back after hours, it will play music matching the “on hold” music
The Health Enrollment Center plays when callers are on hold.

If you call during business hours, the person who answered on 11/22/2021 answered as

“The Health Center”.

Telemarketing Call #13
PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVIL CASE -10/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11™ CIR

CAMAS WA 98607

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 11 of 21

On July 9, 2021, Plaintiff received a phone call from (205) 570- 6023. A lady started
talking with “My name is Kiersten and I’m with the National Health Enrollment Center”.
Plaintiff asked “can you put me on your do not call list” to which she replied ‘no problem” and
the call only lasted about 30 seconds.

Telemarketing Call #14

On August 2, 2021, Plaintiff received a phone call from (469) 780-8640 at 7:04AM. The
caller was a lady from “The Health Center” and Barton asked her to put Barton’s number on her
do-not-call list. The call lasted 50 seconds.

Unsolicited Telemarketing Call #15

Later that same day, Plaintiff received a phone call from (352) 796-3337. The caller was
a lady’s pre-recorded or artificially generated voice reading off a script that included “Do you
have high deductibles, do you have existing conditions, with our open enrollment PPO plan, you
are covered from day one. And receive coverage for unlimited doctor visits, emergency room,
hospitalization, surgery, dental, prescription, and more, with no deductibles”. There was no
actual person on the phone and she asked Plaintiff to type a key on the phone to talk to a live
person. Eventually a man said “Hi this is John with the Health Enrollment Center” and Plaintiff
ended the call.

Telemarketing Call #16

On August 24, 2021, Plaintiff received a phone call from (469) 780-1660 at 7:20AM. A
man started talking with “This is Rick I’m following up to help your search for affordable
healthcare”. And then he started asking health insurance questions.

As part of the conversation Plaintiff told Rick that Barton lived in Washington. “Not a
problem” Rick said. He continued “I’m with the Health Center and they are located in Ft.

Lauderdale however they have national plans”.

PLAINTIFF’S ORGINAL COMPLAINT FORA CIVILCASE -11/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11™crR

CAMAS WA 98607

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 12 of 21

Rick then connected a “Bill” to the call, and just after connecting Bill, Rick said “Hi this
is the Health Center and I have Nathen on the line”. Bill then continued asking health insurance
questions, including asking what Barton’s zip was, to which Barton replied “98664”, Eventually
Bill suddenly hung up on Plaintiff. Plaintiff did not consent to receiving more calls.

Barton called (469) 780-1660 back and again asked Frank who answered the phone to put
Barton on their do not call list. Frank argue back and joined another person on the line to
continue arguing with Barton. Frank left the call. Eventually the lady Sharisa got off the call but
left the line open, and eventually Barton hung up.

Unsolicited Telemarketing Calls #17 & #18

On October 15, 2021, Plaintiff missed two calls from (469) 481-1764. The first missed
call was at 11:18AM, and the second was at 12:33PM. Later Plaintiff would learn these calls
were from The Health Center and were placed to encourage Plaintiff to purchase health care
insurance.

Unsolicited Telemarketing Call #19

On October 15, 2021, Plaintiff missed a call from (469) 842-8598 at 10:06am. Later
Plaintiff would learn this call was from The Health Center and was placed to encourage Plaintiff
to purchase health care insurance. Plaintiff was able to learn the call was from The Health
Center when they called back a few days later using this phone number.

Unsolicited Telemarketing Call #20

On October 15, 2021, Plaintiff received a phone call from (469) 864-7829 at 7:57AM. A
man started talking with “Hi this is Jeramiah are you looking for an individual or a family plan”.
Plaintiff asked who was called and the answer was “This is Jeramiah with the National Health
Enrollment Center”. Plaintiff asked if they were actually Affordable Insurance Group and at that

question Jeramiah hung up on Plaintiff.

PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVIL CASE) - 12/21 NATHEN BARTON

BARTON V SOP] FINANCIAL LLC ET AL 4618 NW 11 CIR
CAMAS WA 98607

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 13 of 21

Unsolicited Telemarketing Call #21
At 9:23am of the same day, October 15, 2021, someone called again from the same
number, (469) 864-7829. The man introduced himself with “I’m responding to an application
you submitted for health insurance”. He asked a health insurance question and Barton said “May
I ask who’s calling” and the unidentified man said “My name’s David Sullivan and I’m with
National Enrollment Center”. Plaintiff asked David if he was Affordable Insurance Group and
Daniel said “no”. Barton said he wasn’t interested and hung up.
Unsolicited Telemarketing Call #22
At 9:06am of the same day, October 15, 2021, Plaintiff received a call from the phone
number, (469) 884-6287. The man introduced himself with “Hey this is Josh I’m responding to
an application you submitted for health insurance”. Barton said “May J ask who’s calling” and
the man said “My name’s Josh with the Health Enrollment Center”. Plaintiff asked Josh if he
was the Affordable Insurance Group several times, and Josh kept saying he was with the Health
Enrollment Center. Plaintiff said he wasn’t interested and Josh got off the line, but didn’t hang
up for another minute.
Unsolicited Telemarketing Call #22
On October 19, 2021, Plaintiff received a call from (469) 894-2651. A man answered the
phone with “Hay this is David I’m responding to your application for health insurance”. David
went on to ask medical and medical insurance questions. David asked for Plaintiff's zip code to
which he replied “98684”. David asked for the zip code twice, and Plaintiff gave him the same
answer both times.
David joined a “Benjamin” to the call. The phone number matches other calls that The

Health Center placed to Plaintiff's phone number, and the music matches the other calls from

The Health Center.
PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVIL CASE - 13/21 NATHEN BARTON

BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11™ CIR
; CAMAS WA 98607

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 14 of 21

Unsolicited Telemarketing Call #22

On October 19, 2021, Plaintiff received a call from (469) 842-8598 at 7:45am. A man
answered the phone with “Hi this is Jeramiah are you looking for an individual or a family plan”
and then he went on to ask medical insurance questions.

He asked for Plaintiff's state and zip code, to which Plaintiff answered “Washington” and
“08684”. Plaintiff recognized his voice from a call a few days earlier when he said he was
calling from the National Health Enrollment Center. Eventually the Jeramiah hung up on
Plaintiff.

Unsolicited Telemarketing Calls #23

On October 19, 2021, Plaintiff missed a call from (469) 842-8598 at 11:53am. This is the
same phone number that “Jeramiah” from the National Health Enrollment Center earlier in the
day. They were calling to encourage the purchase of medical insurance.

Unsolicited Telemarketing Calls #23

On October 19, 2021, Plaintiff missed a call from (469) 310-8823 at 1:58pm. The next
day, the National Health Enrollment Center used this number to call Plaintiff and Plaintiff
identified them during that call. They initiated the call on the 19th to encourage the purchase of
medical insurance.

Unsolicited Telemarketing Calls #23

On October 19, 2021, Plaintiff missed a call from (469) 481-1764 at 10:41am. This is the
same phone number that “Connor Whitaker” from the Health Enrollment Center would call from
later in the day. They were calling to encourage the purchase of medical insurance.

Unsolicited Telemarketing Calls #24
On October 20, 2021 at 11:04am, Plaintiff received a call from (469) 481-1764. The man

who answered introduced himself with “Hello this is Connor Whitaker with The Health

PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVIL CASE - 14/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11™ CIR

CAMAS WA 98607

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 15 of 21

Enrollment Center”. Plaintiff replied “Can you put me on your do-not-call list?”. Connor
replied “Yep”.
Unsolicited Telemarketing Call #23

On October 20, 2021 at 9:59am, Plaintiff received a call from (469) 894 2606. The man
who answered introduced himself-with “Hello this is Torn responding to the application you
submitted for health insurance”. Plaintiff responded “Can you put me on your do not call list”,
to which Torn started arguing.

Eventually Torn hung up. Given the “script” Torn was following, Plaintiff recognized
that Torn was calling from The Health Center to encourage the purchase of health insurance.

Unsolicited Telemarketing Call #23

On October 20, 2021, Plaintiff received a call from (469) 310 8823. The man who
answered introduced himself with “Hey this is Nick responding to the application you submitted
for health insurance”. Nick went on to ask health and health insurance related questions, and
Nick asked for Plaintiffs zip code to which Barton answered “98684”.

Eventually Nick revealed that he personally worked for Top Healthcare Solutions, which
is in the Fort Lauderdale area. But he was calling to sell a health plan for Adroit Health Group.

He went through the exact same sales pitch as the before when a caller was selling health
insurance plans for Adroit Health Group LLC. Nick told Plaintiff that the phone number for
Nick’s company was (866) 825-9890. If you call (866) 825-9890 after hours, an answering
service says “Thank you for calling The Health Center where we make shopping for health
insurance fun and easy”.

Defendants are Unlicensed Commercial Telephone Solicitors

RCW 19.158.020 says:
PLAINTIFF’S ORGINAL COMPLAINT FOR ACIVILCASB -15/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11™ CIR

CAMAS WA 98607

 
10
ll
12
13
14
15
16
17
18
19
20
21
22
23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 16 of 21

(1) A "commercial telephone solicitor" is any person who engages in commercial
telephone solicitation

(2) "Commercial telephone solicitation" means:
(a) An unsolicited telephone call to a person initiated by a salesperson and
conversation for the purpose of inducing the person to purchase or invest in
property, goods, or services;

RCW 19.158.050(1) says in part:

“In order to maintain or defend a lawsuit or do any business in this state, a commercial
telephone solicitor must be registered with the department of licensing.”

Although RCW 19.158.050(3) says “The department of licensing shall issue a
registration number to the commercial telephone solicitor.”, in practice this Commercial
Telephone Solicitor “registration number” appears as an endorsement on the business license
issued by The Washington State Department of Revenue.

Adroit is registered to do business in Washington State, but does not have this
endorsement on their business license. Top Healthcare and Sopi are not registered to do any
business in Washington State, thus they does not have this endorsement on their not-existing
Washington State business license, and they acted as unlicensed commercial telephone solicitors.

Defendants are Annoying the Public
These illegal calls caused annoyance, intrusion on privacy and seclusion, and wasted time

to Plaintiff. Plaintiff received tons of calls and robocalls that did not need and did not want.

V. RELIEF
Federal Law
TCPA 47 U.S.C. 227

Plaintiffs phone number at issue was at all relevant times registered on the FTC do-not-

cail list more than 30 days before the alleged solicitations. Plaintiff does not have any

PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVIL CASE - 16/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11™ CIR

CAMAS WA 98607

 
10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 17 of 21

relationship with the Defendants by which they could legally phone solicit Plaintiff for any

reason.

Defendants violated the regulations governing the TCPA, 47 C.F.R § 64.1200, and TCPA
47 U.S.C. 227(c) by calling or texting Plaintiff's cellular telephone number without invitation or
consent when that number was registered on the FTC’s do-not-call list more than 30 days prior to

each call.
47 U.S.C. 227(b) — Restrictions on the use of automated telephone equipment — says:

(1) PROHIBITIONS.—It shall be unlawful for any person within the United
States, or any person outside the United States if the recipient is within the United
States—

(A) to make any call (other than a call made for emergency purposes or made
with the prior express consent of the called party) using any automatic
telephone dialing system or an artificial or prerecorded voice—

(iii) | to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for the call;

Defendants violated 47 U.S.C. 227(b) by calling Plaintiff's cellular telephone number

without consent, while using an artificial or prerecorded voice.
RICO 18 U.S.C. § 1962

Sopi and Top Healthcare knowingly operate a joint business venture illegally soliciting
medical insurance in violation of state and federal telemarketing laws. On behalf of Sopi and
Top Healthcare, multiple agents named above repeatedly and knowingly acted as unlicensed
Commercial Telephone Solicitors as a regular way of conducting their joint venture’s ongoing
business in Washington State.

Sopi and Top Healtcare engages in interstate commerce.

Sopi and Top Healtcare have no reason to treat Plaintiff differently than any other

consumer, and it is reasonable to believe Sopi and Top Healtcare intend to continue acting as
PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVIL CASE -17/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11 CIR

CAMAS WA 98607

 

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 18 of 21

unlicensed Commercial Telephone Solicitors, and will continue to place illegal solicitation calls,
in an open-ended pattern of racketeering activity.

Sopi and Top Healtcare’s agents acted to conceal Sopi and Top Healtcare’s true
identities, demonstrating knowledge that their actions are illegal and could have consequences.
Sopi and Top Healtcar’s telephone sales agents could not know to do this on their own, the
companies must be instructing them through telephone scripts.

Washington State Law
RCW 19.158

Defendants were not registered as Commercial Telephone Solicitors with the Washington
State Department of Licensing when any of the solicitation calls were placed to Plaintiff, in
violation of RCW 19,158.050(1).

Defendants violated Washington State RCW 19.158.150 times by soliciting Plaintiff on
his cell phone while they were not registered on with the Washington State Department of
Licensing as Commercial Telephone Solicitors, or while working on behalf of an unregistered
Commercial Telephone Solicitor.

Washington State RCW 19.158.110(1) says:

Within the first minute of the telephone call, a commercial telephone solicitor or
salesperson shall:

(a) Identify himself or herself, the company on whose behalf the solicitation is
being made, the property, goods, or services being sold;

The Defendants did not identify a legitimate company name in the first 60 seconds of
many calls Defendants initiated to Plaintiff, and there was conversation.
Washington State RCW 19.158.110(2). says:

If at any time during the telephone contact, the purchaser states or indicates that he or she

PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVILCASE - 18/21 NATHEN BARTON
BARTON V SOP] FINANCIAL LLC ET AL 4618 NW 11™ CIR

CAMAS WA 98607

 
10
il
12
13
14
15
16
17
18
19
20
21
22
23

24

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 19 of 21

does not wish to be called again by the commercial telephone solicitor or wants to have
his or her name and individual telephone number removed from the telephone lists used
by the commercial telephone solicitor:

(a) The commercial telephone solicitor shall not make any additional commercial
telephone solicitation of the called party at that telephone number within a period of at
least one year;

The Defendants called Plaintiff within a period of one year after Plaintiff asked for
Plaintiff's number to be removed from the telephone lists used by Defendants.
RCW 80.36.390(2)
Washington State RCW 80.36.390(2) says

A person making a telephone solicitation must identify him or herself and the company or
organization on whose behalf the solicitation is being made and the purpose of the call
within the first thirty seconds of the telephone call.

In many solicitation calls the Defendants failed to identify the company behind the
solicitation within the first 30 seconds of the phone call.
RCW 80.36.390(3)
Washington State RCW 80.36.390(3) says:

If, at any time during the telephone contact, the called party states or indicates that he or
she does not wish to be called again by the company or organization or wants to have his
or her name and individual telephone number removed from the telephone lists used by
the company or organization making the telephone solicitation, then:

(a) The company or organization shall not make any additional telephone solicitation of
the called party at that telephone number within a period of at least one year;

Plaintiff asked Defendants to not be called again, and Defendants called Plaintiff many
more times after this request.
RCW 80.36.400

Washington State RCW 80.36.400(2) states:

PLAINTIFF’S ORGINAL COMPLAINT FORA CIVILCASE -19/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 117° CIR

CAMAS WA 98607

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 20 of 21

“No person may use an automatic dialing and announcing device for purposes of
commercial solicitation. This section applies to all commercial solicitation intended to be
received by telephone customers within the state,”

Defendants violated Washington State RCW 80,36.400(2) nine (9) times by calling
Plaintiff's cellular telephone number without consent, while using an automatic dialing and
announcing device for commercial solicitation.

RCW 80,36,400 defines “Commercial solicitation means the unsolicited initiation of a
telephone conversation for the purpose of encouraging a person to purchase property, goods, or
services,”

Treble Damages

Plaintiff believes the record shows that Defendants’ violations of the law were willful or
knowing. They were asked many times to place Plaintiff on their do-not-call list and they
knowingly give out fake business names to hide their identity.

Therefore, Plaintiff asks for treble damages under TCPA 47 U.S.C. 227(c)(5), TCPA 47
U.S.C. 227(b)(3), and the presumption that violations of Washington State RCW 19.158 and
RCW 80.36.400 triple damages under the Washington State Unfair Business Practices Act RCW
19.86.

Injunctive Relief

TCPA 47 U.S.C. 227(b)(3)(A) and 47 U.S.C. 227(c)(5)(A) allows “an action based on a

violation of the regulations prescribed under this subsection to enjoin such violation”

Washington State RCW 80.36.390(6) says:

A person aggrieved by repeated violations of this section may bring a civil action
in superior court to enjoin future violations, to recover damages, or both.

PLAINTIFF’S ORGINAL COMPLAINT FOR A CIVIL CASE - 20/21 NATHEN BARTON
BARTON V SOPI FINANCIAL LLC ET AL 4618 NW 11™ CIR

CAMAS WA 98607

 
10
11
12
13
14
15
16
ry
18
19
20
21
22
23

24

 

 

Case 3:21-cv-05934-RJB Document 1-1 Filed 12/29/21 Page 21 of 21

Plaintiff is not unique — he simply had the misfortune to be targeted. by Defendants’ mass

calling machine. It is reasonable to believe that Defendants have done this Many times in the

past and will continue harming the residents of this State and other States in the future.

Plaintiff asks this Court to enjoin the Defendants from further violations of State and

Federal telemarketing laws.

All other Possible Damages .

Plaintiff prays for all possible damages, in law and in equity, statutory, real, and punitive,

that he might be entitled too. Such damages could be but are not limited to court costs and

attomey fees,

I declare under penalty of perjury under the laws of the state of Washington that the

foregoing is true and correct.

Signed at Vancouver, WA on } | Ly do iC,

(Nathen Barton)

7
Nathen Barton
(718) 710-5784
4618 NW 11" Cir
Camas WA 98607

PLAINTIFF'S ORGINAL COMPLAINT FOR A CIVIL CASE - 21/21
BARTON V SOPI FINANCIAL LLC ET AL

NATHEN BARTON
4618 NW 11™ CIR

Mees, onre anrcnes

 

 
